             Case 2:21-ap-01108-WB                   Doc 7-1 Filed 07/16/21 Entered 07/16/21 16:19:08                                     Desc
                                                      Proposed Order Page 1 of 5



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address
    ROB BONTA
    Attorney General of California
    BRIAN D. WESLEY (State Bar No. 219018)
    Supervising Deputy Attorney General
    TJ FOX (State Bar No. 322938)
    300 SOUTH SPRING STREET, SUITE 1702
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    E-Mail: Brian.Wesley@doj.ca.gov



         Individual appearing without attorney
         Attorney for CDTFA

                                             UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA - Name of DIVISION
                                                                        LOS ANGELES    DIVISION

    In re:
ERIC CONRAD                                                                     CASE NO.: 2:21-bk-12802-WB
                                                                                CHAPTER:
                                                                                ADVERSARY NO.: 2:21-ap-01108-WB
                                                                 Debtor(s).
ERIC CONRAD


                                                                                NOTICE OF LODGMENT OF ORDER OR
                                                                Plaintiff(s),   JUDGMENT IN ADVERSARY PROCEEDING
                                      vs.                                       RE: (title of motion 1):
CALIFORNIA DEPARTMENT OF TAX AND FEE
ADMINITRATION


                                                               Defendant.




PLEASE TAKE NOTE that the order or judgment titled

was lodged on (date)         07/16/2021           and is attached. This order relates to the motion which is docket number                         .




1
    Please abbreviate if title cannot fit into text field.

              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                            Page 1                 F 9021-1.2.ADV.NOTICE.LODGMENT
Case 2:21-ap-01108-WB   Doc 7-1 Filed 07/16/21 Entered 07/16/21 16:19:08   Desc
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                 EXHIBIT A
     Case 2:21-ap-01108-WB         Doc 7-1 Filed 07/16/21 Entered 07/16/21 16:19:08     Desc
                                    Proposed Order Page 3 of 5

       ROB BONTA
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 6     Attorneys for Defendant California
       Department of Tax and Fee Administration
 7
     Bruce A Boice, Esq., SBN: 249296
 8     Law Office of Boice & Associates
       307 E. Chapman Ave., Suite 102
 9     Orange, CA
       TEL: 949-690-8647
10     FAX: 949-612-0859
     bboice@lawyer.com
11    Attorney for Plaintiff Eric Conrad

12                    IN THE UNITED STATES BANKRUPTCY COURT

13           CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

14

15   In re                                         Case No.: 2:21-bk-12802-WB

16   ERIC CONRAD,                                  Chapter 7

17                   Debtor.                       Adversary No.: 2:21-ap-01108-WB

18

19
                                                   ORDER APPROVING
                                                   STIPULATION FOR EXTENSION
20
                                                   OF TIME TO RESPOND TO
                                                   COMPLAINT
     ERIC CONRAD,
21
                      Plaintiff,                   Status Conference
22
     CALIFORNIA DEPARTMENT OF                      Date: August 24, 2021
23
                                                   Time: 2:00 PM
     TAX AND FEE ADMINISTRATION,                   Judge: Hon. Julia W. Brand
24
     a.k.a., STATE OF CALIFORNIA                   Location: 255 E Temple St., Courtroom
25   BOARD OF EQUALIZATION,                        1375, Los Angeles, CA 90012
26                    Defendant(s).
27                                                  -1-
     ___________________________________________________________________________________________
28   In re Eric Conrad                                     Case No.: 2:21-bk-12802-WB
     Order Approving Extension of Time
     Case 2:21-ap-01108-WB      Doc 7-1 Filed 07/16/21 Entered 07/16/21 16:19:08       Desc
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 1         Pursuant to the Stipulation to Extend Time to Respond to Complaint filed with
 2   this Court on July 16, 2021 and good cause showing, it is ordered that Defendant
 3   California Department of Tax and Fee Administration shall have up to and including
 4   July 30, 2021 to submit an answer or otherwise respond to Plaintiff’s Complaint.
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     ___________________________________________________________________________________________
28   In re Eric Conrad                                    Case No.: 2:21-bk-12802-WB
     Order Approving Extension of Time
       Case 2:21-ap-01108-WB                    Doc 7-1 Filed 07/16/21 Entered 07/16/21 16:19:08                                     Desc
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 600 West Broadway, Suite 1800
 San Diego, CA 92101
A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
   07/16/2021         I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  Attorney for Plaintiff: Bruce A Boice (bboice@lawyer.com)




                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________,07/16/2021       I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 Trustee: Carolyn A Dye (TR), Law Offices of Carolyn Dye, 15030 Ventura Blvd., Suite 527, Sherman Oaks, CA 91403

 U.S. Trustee: United States Trustee (LA), 915 Wilshire Blvd., Suite 1850, Los Angeles, CA 90017
                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

07/16/2021                   TJ Fox                                                          /s/ TJ Fox
Date                         Printed Name                                                    Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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